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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                         10/21/20
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                              WAIVER OF RIGHT TO BE
                             -v-                                              PRESENT AT CRIMINAL
                                                                              PROCEEDING
                    DANTE STEPHENS,
                                       Defendant.                               15-CR-95-51 (AJN)
-----------------------------------------------------------------X

Check Proceedings that Apply

____     Violation of Supervised Release Conference

         I understand that I have a right to appear before a judge in a courtroom in the Southern
         District of New York at the time the conditions of my release on supervision or my remand to
         custody are discussed. I have discussed these issues with my attorney and wish to give up my
         right to be present at the conferences. By signing this document, I wish to advise the court
         that I willingly give up my right to be present at the conferences in my case for the period of
         time in which access to the courthouse has been restricted on account of the COVID-19
         pandemic. I request that my attorney be permitted to represent my interests at the
         proceedings even though I will not be present.


Date:              _________________________                         ____________________________
                   Print Name                                              Signature of Defendant


 x
____     Admission of Specification

         I am aware that I have been charged with violations of the terms of supervised release. I have
         consulted with my attorney about those charges. I have decided that I wish to admit to
         certain specifications. I understand I have a right to appear before a judge in a courtroom in
         the Southern District of New York to enter my admission of the specifications and to have my
         attorney beside me as I do. I am also aware that the public health emergency created by the
         COVID-19 pandemic has interfered with travel and restricted access to the federal
         courthouse. I have discussed these issues with my attorney. By signing this document, I wish
         to advise the court that I willingly give up my right to appear in person before the judge to
         admit to certain specifications. By signing this document, I also wish to advise the court that
         I willingly give up any right I might have to have my attorney next to me as I enter my plea so
         long as the following conditions are met. I want my attorney to be able to participate in the
         proceeding and to be able to speak on my behalf during the proceeding. I also want the ability
         to speak privately with my attorney at any time during the proceeding if I wish to do so.
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                Dante Stephens                             /s/ Anthony S. Barkow
Date:          _________________________               ____________________________
               Print Name                                    Signature of Defendant


        I hereby affirm that I am aware of my obligation to discuss with my client the specifications
        of violation of supervised release, my client’s rights to attend and participate in the criminal
        proceedings encompassed by this waiver, and this waiver form. I affirm that my client
        knowingly and voluntarily consents to the proceedings being held with my client and me both
        participating remotely.

                 Anthony S. Barkow                                /s/ Anthony S. Barkow
Date:          __________________________                        _____________________________
               Print Name                                        Signature of Defense Counsel




                                                 9/23/20
Accepted:      ________________________
               Signature of Judge
               Date:




                                                   2
